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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


  THE STATE OF OHIO,

  and

  THE UNITED STATES OF AMERICA,

  Plaintiffs,

  v.                                                      Civil Case No. 23-cv-517
                                                          Hon. John R. Adams

  NORFOLK SOUTHERN RAILWAY
  COMPANY,

  and

  NORFOLK SOUTHERN CORPORATION,

  Defendants.


                                         STATUS REPORT
          The United States hereby submits this Status Report in accordance with the April 15,

2024 Case Management Plan.

          The United States has no updates since its last Status Report, filed October 15, which

followed its October 10 Motion to Enter Consent Decree.

       1. Discovery That Has Occurred During the Reporting Period

          The United States and Norfolk Southern reached agreement on a settlement, which was

lodged with the Court on May 23, and which the United States moved the Court to enter on

October 10. Thus, the United States and Norfolk Southern have not been engaged in discovery

since the United States served interrogatories and requests for production on May 1.
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   2. Settlement Discussions That Have Occurred During the Period

       The United States and Norfolk Southern reached agreement on a settlement, which was

lodged with the Court on May 23, and which the United States moved the Court to enter on

October 10. The settlement, if approved, would resolve all the claims in the United States’

complaint, so no further settlement discussions have occurred.

   3. Motions That Have Been Filed or Remained Pending During the Reporting Period

       On October 10, after careful review of all public comments received on or near the

deadline, the United States filed a Motion to Enter Consent Decree. That motion remains

pending before the Court.

       On June 14, the United States and Norfolk Southern moved this Court for a stay of

deadlines in the Case Management Plan due to having reached a settlement. The time for

opposing the motion has elapsed and no opposition has been raised. The motion remains pending

before the Court.

   4. Developments That Might Give Rise to a Request to Deviate from the Schedule Outlined
      in the Case Management Plan
       The United States and Norfolk Southern moved this Court for a stay of deadlines in the

Case Management Plan due to having reached a settlement.
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                                 Respectfully submitted,

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